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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 GOLO, LLC,

                    Plaintiff.
        v.
                                                      C.A. No. 20-667-RGA
 Goli Nutrition Inc., a Canadian Corporation,
 Goli Nutrition Inc., a Delaware Corporation,
                                                      JURY TRIAL DEMANDED
 Michael Bitensky, an individual,

                    Defendants.


                                 FIRST AMENDED COMPLAINT

       1.      Plaintiff GOLO, LLC (“Plaintiff” or “GOLO”), by its undersigned attorneys, for

its First Amended Complaint against Defendants Goli Nutrition Inc., a Canadian Corporation

(“Goli Canada”), Goli Nutrition Inc., a Delaware Corporation (“Goli US”), and Michael

Bitensky, an individual (“Bitensky”) (collectively, “Defendants” or “Goli”) alleges as follows:

                                        Nature of Action

       2.      GOLO is a leading health and wellness company that offers a total weight loss

and wellness solution, which includes a unique and proprietary plan to help its customers make

healthy lifestyle changes to allow them to lose weight and a patented dietary supplement that has

been clinically shown to increase weight loss, reduce hunger and cravings and suppress the

appetite, reduce stress and anxiety, increase immune function, and increase energy. Together,

the GOLO plan and dietary supplement have been shown to reduce health risk factors, including

by lowering blood sugar levels, blood pressure, cholesterol, triglycerides, and visceral fat, and by

significantly reducing a person’s body mass index. The developers of GOLO include a team of

doctors, pharmacists, and researchers who have spent more than a decade developing the
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company’s products, and focusing on sound research and science to develop a holistic system

that addresses weight loss and overall health and wellness.

       3.      GOLO began selling its proprietary weight loss and wellness solution at least as

early as April 2013 using its federally registered and distinctive GOLO trademark (the “GOLO

Mark”). GOLO has invested significant resources in product development, studies, trials,

research, and in TV and digital advertising to build awareness and value in its GOLO Mark and

to ensure its products provide the marketed benefits. GOLO has over 1 million customers and

has shipped over 2 million packages of products. Each of those packages includes several uses

of the GOLO Mark. GOLO has an extremely high customer satisfaction rating and provides free

support, coaching, and online tools to support its customers’ transition to a healthier lifestyle.

       4.      GOLO operates within the growing health and wellness industry. Obesity, heart

disease, diabetes, and cancer are all increasing at alarming rates, and the global COVID-19

pandemic has magnified the problem with increased weight gain, stress, anxiety, and depression.

Consumers, understandably concerned about their health, are particularly vulnerable to

unscrupulous companies offering products that promise easy and quick routes to weight loss,

stronger immune systems, and other improved health markers. The increase in the number of

companies making inflated and unsubstantiated claims about the health benefits of their

products—along with the risks those claims pose to consumers—has led regulators to issue

guidelines regarding the marketing of weight loss products and other dietary supplements. And

for good reason: consumers purchasing products believing they will have health benefits that

they do not have is a threat to public health.

       5.      Goli’s Founder and President, Defendant Michael Bitensky, launched the

company in 2019 with just one product: gummies that Goli claims provide the same health



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benefits as a full “shot” of real liquid apple cider vinegar (“ACV”) in just two delicious gummies

(“ACV Gummies,” or a singular “ACV Gummy”). Goli offers dietary supplements and related

services under the trademarks GOLI and GOLI NUTRITION (collectively the “Goli Marks”).

Goli represents that its ACV Gummies support weight loss, a healthy immune system, heart

health, healthy digestion, lower blood sugar levels, reduced appetite, and improved energy.1

       6.      In its widespread marketing campaign of its ACV Gummies, through both

sponsored advertisements on social media and its network of thousands of paid influencers,

Goli’s ACV Gummies have been portrayed as a miracle supplement that is relatively cheap,

easy, tasty, and supposedly requires no additional work to achieve the long list of promised

health results. For instance, many of Goli’s advertisements reflect users losing double-digit

inches from their waist, multiple pants sizes, and many pounds.

       7.      Many of Goli’s false claims in connection with its ACV Gummies were recently

challenged by another competitor in front of the National Advertising Division of the Better

Business Bureau. In response to that challenge, Goli did not offer any support for the vast

majority of the challenged claims (including those relating to weight loss), but rather, Goli

agreed to discontinue them. Despite that promise, Goli has not stopped marketing its ACV

Gummies as a “magic in a bottle” that supports weight loss and weight management and

decreases appetite.

       8.      In January 2021, Goli launched a second dietary supplement called Ashwa

(“Ashwa Gummies,” or a singular “Ashwa Gummy”), which Goli has touted as the “World’s




1
  See, e.g. https://www.prnewswire.com/news-releases/goli-nutrition-launches-worlds-first-
apple-cider-vinegar-gummy-300922883.html (last accessed Aug. 19, 2021);
https://goli.com/pages/benefits (last accessed Aug. 19, 2021).

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Most Powerful Ashwagandha Gumm[y].”2 Ashwagandha is an herbal pharmaceutical and an

adaptogen—an herb you can eat as food or take via supplement that is believed to help the body

deal with stress. Much of Goli’s marketing of its Ashwa Gummies, like that of its ACV

Gummies, promises not just stress reduction and calming effects, but a laundry list of health

benefits nearly identical to those Goli claims its ACV Gummies provide, including weight

management.3

         9.     In May 2021, Goli launched its third dietary supplement product, Superfruits

(“Superfruits Gummies”). As with its other two products, Goli promises a swath of health

benefits, all in the form of a tasty candy-like gummy. Through its viral marketing, Goli claims

that this product improves skin and immunity, provides essential nutrients to “support normal

functions,” and promotes overall “wellness.”4

         10.    In September 2021, Goli began selling another new nutritional and dietary

supplement product called “Supergreens Gummies” (together with the ACV Gummies, Ashwa

Gummies, and Superfruits Gummies, the “Gummies”). Goli claims that the Supergreens

Gummies pack nearly a dozen essential vitamins and minerals into two gummy bites to




2
    See https://goli.com/pages/home-ashwagandha (last accessed Aug. 19, 2021).
3
    See id.
4
  See https://goli.com/pages/benefits-superfruits (last accessed Aug. 22, 2021);
https://www.instagram.com/p/CS3F6GwrDMV/?utm_source=ig_web_copy_link
(“SUPERFRUITS- gummies help with wellness, beauty & nutrition.”);
https://www.instagram.com/p/CRDtLDQBds5/?utm_source=ig_web_copy_link (“Find yourself
radiating from the inside out with our carefully crafted formula designed with beauty and
wellness in mind.”).

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purportedly provide a “healthy immune system,” “overall health & wellbeing,” and other

positive health benefits.5

       11.      Most recently, in November 2021, Goli widened its reach, introducing its first

non-gummy dietary supplements, “Goli Bites,” in two variants: Multi Bites and Calm Bites.

Through these new offerings, Goli claims that the Goli Bites, chocolate-covered, caramel-filled

bites, provide wide-ranging health benefits, including “overall health & wellbeing,” “control [of]

stress-related food cravings,” “support a healthy immune system,” and “reduce and maintain

healthy body weight.”6

       12.      Goli has seized on consumers’ desire to find an easy route to weight management,

immune system support, and overall wellness with a marketing strategy that falsely and

misleadingly represents that Goli’s products provide “simple” and healthy ways to manage

weight, strengthen their immune systems, and improve overall health. Goli’s website

(www.goli.com), sponsored advertising on social media and in other media, and product

packaging are replete with false and misleading information. For example:

       •     Goli overstates the amount of apple cider vinegar in its ACV Gummies, even
             assuming, arguendo, that the starchy ACV powder included in the ACV Gummies
             can credibly be called “Apple Cider Vinegar” even though their contents and
             associated benefits bear no resemblance to traditional liquid ACV;

       •     Goli claims that two of its ACV Gummies are equivalent to one shot of liquid apple
             cider vinegar, when in reality, one would have to eat at least thirty ACV Gummies to



5
 https://goli.com/pages/home-supergreens/ (last accessed Dec. 15, 2021) (touting “digestive
health,” a “healthy immune system,” “overall health & wellbeing” and other benefits for Goli’s
Supergreens product).
6
 https://goli.com/pages/home-bitesmulti (last accessed Dec. 15, 2021) (claiming that Goli’s
chocolate Multi Bites “Promote Overall Health & Well-being” and “Support a Healthy Immune
System”); https://goli.com/pages/home-bitescalm/ (last accessed Dec. 15, 2021) (claiming that
Goli’s chocolate-covered Calm Bites “Control Stress-Related Cravings” and “Reduce and
Maintain Healthy Body Weight”).
                                                 5
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              get the amount of acetic acid (the main active ingredient in apple cider vinegar) from
              what is commonly understood as even a small shot;

        •     Goli claims that its ACV Gummies contain a combination of beneficial enzymes,
              yeast, and healthy bacteria found in liquid apple cider vinegar called “the mother,”
              but laboratory testing of an actual Goli ACV Gummy confirms “the mother” is not
              present;7

        •     Goli touts its Ashwa Gummies as containing the highest concentration ashwagandha
              extract on the market and being vegan, but the highest concentration of ashwagandha
              extract is not vegan, so Goli’s claims cannot both be true;

        •     Despite claiming weight-management benefits, Goli’s Ashwa Gummies contain 50%
              more calories than disclosed;

        •     Goli represents that its Ashwa Gummies provide a host of “clinically proven”
              benefits, misleading consumers to believe that its products have been tested when
              Goli relies solely on studies about the product’s ingredients, before they are processed
              into a gummy form, to make its claims; and

        •     Goli’s product packaging and other marketing materials claim that its ACV Gummies
              are organic, when in fact they only include select organic ingredients.

        13.      To make matters worse, Goli’s false and misleading claims appear alongside

representations that Goli’s approach to wellness is “backed by modern science,” and under

headings such as “[t]he Studies and Science Behind Goli,” and are parroted and promoted by the

members of Goli’s Nutritional Advisory Board.8 All of this has the effect of giving a false sense

of credibility to Goli, its products, and its claims.


7
  Indeed, in apparent recognition that the “mother” cannot survive the manufacturing process
used to make gummies, Goli recently modified this claim in some, but not all, of its advertising
materials. Compare https://goli.com/pages/faq (last accessed Aug. 25, 2021) (explaining that the
“mother” is present at the time of manufacturing), with
http://web.archive.org/web/20210129081053/https://goli.com/pages/faqYes! (last accessed Aug.
25, 2021) (“We worked really hard for two years on developing a formula for our Goli Gummy
that would be delicious without sacrificing the benefits of apple cider vinegar (“ACV”), and to
do that we made sure to keep the mother in our Goli Gummy.”).
8
  Goli holds its Nutritional Advisory Board out as a “team of the brightest minds in the health
industry” who were “hand selected” to help further the company’s products and to communicate
their health and wellness benefits.

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       14.     Through its marketing of its products, Goli has positioned itself as a player in the

market for dietary supplements aimed at weight management and is a direct competitor to

GOLO. Both companies market their products via the same or similar trade channels, including

retail and online sales. That marketplace reality means that when Goli makes false and

misleading advertising claims, GOLO is harmed.

       15.     The deception to consumers and harm to GOLO is further compounded by the

fact that Goli chose a product name so similar to GOLO’s company name and trademark, which

has given consumers the mistaken impression that the two companies are somehow affiliated.

       16.     Indeed, “GOLO” and “Goli” sound and appear nearly identical to one another,

and the differentiating letters are immediately next to one another on standard QWERTY

keyboards.

       17.     Both GOLO and Goli sell ingestible dietary supplements, which further

compounds the problem with the companies having nearly identical names. Each time Goli

expands its product offerings and uses the Goli Marks, it increases the opportunities for

confusion and causes harm to GOLO’s business.

       18.     Accordingly, GOLO brings this action for (I) trademark infringement under

Section 32(1) of the Lanham Act of 1946, as amended, 15 U.S.C.§ 1051 et seq., including willful

infringement; (II) use of false designations of origin in commerce under Section 43(a) of the

Lanham Act of 1946, as amended, 15 U.S.C. § 1125(a); (III) cancellation of a registered

trademark under 15 U.S.C. § 1052(d); (IV) false advertising under Section 43(a) of the Lanham

Act of 1946, as amended, 15 U.S.C. § 1125(a); (V) statutory unfair competition (trademark

infringement) under the Delaware Uniform Deceptive Trade Practices Act, 6 Del. C. § 2531 et




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seq.; and (VI) statutory unfair competition (false advertising) under the Delaware Uniform

Deceptive Trade Practices Act, 6 Del. C. § 2532 et seq.

A.     THE PARTIES

       19.     Plaintiff GOLO is a Delaware limited liability company with its principal place of

business at 258 Chapman Road, Chopin Building, Suite 104, Newark, Delaware 19702.

       20.     Defendant Goli Canada is a corporation organized on October 4, 2018, under the

federal laws of Canada with its principal place of business at 1 Westmount Square, Suite 1500,

Westmount, H3Z2P9, Quebec, Canada.

       21.     Defendant Goli Canada has a registered office at 8430 Santa Monica Boulevard,

Suite 204, West Hollywood, California 90069. On information and belief, Goli Canada does

business in the United States and currently promotes, distributes, markets, ships, offers, and sells

its dietary supplements under the Goli Marks throughout the United States, including in

Delaware.

       22.     Defendant Goli US is a corporation organized on April 30, 2019, under the laws

of the State of Delaware with its principal place of business at 1 Westmount Square, Suite 1500,

Westmount, H3Z2P9, Quebec, Canada.

       23.     Defendant Goli US does business in the United States and currently promotes,

distributes, markets, ships, offers, and sells its dietary supplements under the Goli Marks

throughout the United States, including in Delaware.

       24.     Defendant Michael Bitensky is, and at all relevant times was, the President and

Chief Executive Officer of Goli and authorizes, controls, and directs Goli’s marketing and

advertising claims and strategies, including without limitation its use of the “Goli” brand name.

On information and belief, Defendant Bitensky is a citizen of Canada.



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       25.      At all relevant times, each of the Defendants was the agent and alter ego of each

other Defendant, acting for and on behalf of each of the other Defendants, all of whom act as a

single enterprise, with unity of purpose and control.

B.     JURISDICTION AND VENUE

       26.      The Court has subject matter jurisdiction of this action under 28 U.S.C. § 1331

and 28 U.S.C. § 1338(a) because the action arises under the Lanham Act, 15 U.S.C. § 1051 et

seq. The Court has supplemental jurisdiction over the state law claim under 28 U.S.C. § 1367

because the claim is so related to the claims arising under the Lanham Act, 15 U.S.C. § 1051 et

seq., that they form part of the same case and controversy under Article III of the United States

Constitution.

       27.      This Court has personal jurisdiction over Goli and Bitensky because, on

information and belief, they regularly conduct business in Delaware, including by marketing,

advertising, selling, and/or offering for sale the Gummies to persons within Delaware. Goli and

Bitensky distribute Goli-branded Gummies to retailers such as Target, Walmart, Bed Bath &

Beyond, The Vitamin Shoppe, and GNC that offer to sell and sell the Gummies throughout the

United States, including to customers in Delaware. Goli Canada chose to incorporate its U.S.

entity, Goli US, in Delaware, taking advantage of Delaware’s corporate laws and purposefully

and specifically directing its activities at Delaware.

       28.      Accordingly, the exercise of personal jurisdiction over each Defendant comports

with Defendants’ right to due process because, as described above, Defendants purposefully

availed themselves of the privilege of conducting activities within Delaware or consented to

jurisdiction here, such that each should reasonably anticipate being haled into court here. And as

alleged herein, Defendants have committed infringement, false advertising, and other tortious

conduct in this District, which have caused injury to GOLO in this District.

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        29.     Venue is proper in this judicial District under 28 U.S.C. § 1391(b)–(c) because

 Defendants are subject to personal jurisdiction in this District and transact business and sales

 within this District, GOLO resides within this District and transacts business and sales within

 this District, and the acts complained of herein, including Defendants’ acts of infringement that

 have injured GOLO, have occurred and continue to occur within this District.

 C.     THE WELLNESS, WEIGHT MANAGEMENT, AND DIETARY SUPPLEMENT INDUSTRY

        30.     Obesity is a serious medical problem that has been linked to dangerous health

 conditions, including Type 2 Diabetes, heart disease, Alzheimer’s disease, dementia, and more.

 A recent study by the Centers for Disease Control indicates that nearly 7 out of 10 Americans are

 considered overweight or obese. Over the past decade or so, consumers have become

 increasingly aware of the health benefits of weight management and the relationship between

 weight and key health and wellness markers, including reducing the risk of lifestyle diseases.

 Indeed, recent research shows that the biggest motivator for losing weight among obese

 Americans is the desire to improve overall health. As a result, those seeking to lose weight are

 now more likely than ever to be looking to improve health generally and, conversely, those

 seeking to improve health generally are looking to do so through changes in how and what they

 eat. These trends have fueled the rise of dietary supplements with weight loss/weight

 management and overall health benefits. The dietary supplements industry is expected to exceed

 $50 billion dollars in the U.S. by 2025.

        31.     Unfortunately, the industry is also fraught with opportunity for competitors

 looking to capitalize on the desire of so many people to lose weight and improve their overall

 health, often by promising “easy” and simple solutions to do so. Many companies, like Goli, do




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 so through viral social marketing campaigns and the use of affiliate marketing9 and paid

 endorsements, in addition to more traditional television marketing and brick-and-mortar

 distribution. These trends have led regulators, like the Federal Trade Commission (FTC), to

 release guidance to consumers on how to evaluate advertising claims about dietary supplements

 and other weight loss products. For instance, in a blog post entitled “The Truth Behind Weight

 Loss Ads,” the FTC tells consumers to be particularly skeptical of weight loss and supplement

 companies who, inter alia, claim that one product can “do it all” or address a broad range of

 health issues, use words like “breakthrough” and “ancient remedies,” use scientific-sounding

 terms in a misleading way, or make wild promises in product reviews.10

 D.     GOLO—ITS PHILOSOPHY, PRODUCTS, AND MARKS

        32.     GOLO was founded to provide individuals with a natural and effective way to

 combat obesity and achieve sustainable weight loss and overall better health. Chris Lundin and

 Jennifer Brooks, GOLO’s founders, along with a talented team, have devoted more than ten

 years to bringing GOLO’s products to market. Since at least as early as 2013, GOLO has been

 developing dietary supplements and healthcare services, including programs for weight loss,

 weight management, nutrition, and lifestyle wellness (collectively, “GOLO’s Goods and




 9
   Goli offers a link to its “Ambassador” program on its website, which allows consumers to sign
 up as Goli Ambassadors, get a referral code, “start earning,” and receive “instant payouts.”
 https://www.goli.com (last accessed Aug. 19, 2021); https://partners.goli.com/login (last
 accessed Aug. 19, 2021). Those who sign up as Ambassadors then get access to Goli’s
 influencer portal, which provides them with guidance on how to create their social media posts
 promoting Goli, graphics they can use for posts, and the language they should use to describe
 Goli’s products and promised benefits.
 10
    See e.g., https://www.consumer.ftc.gov/articles/0261-dietary-supplements (last accessed Aug.
 19, 2021); https://www.consumer.ftc.gov/articles/truth-behind-weight-loss-ads (last accessed
 Aug. 19, 2021).

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 Services”). GOLO’s team has remained steadfast in its focus on sound research and science to

 develop a holistic system that addresses weight loss and overall wellness.

        33.     GOLO offers a complete health plan—the GOLO for Life Plan (“GOLO

 Plan”)—that helps GOLO’s customers make sustainable lifestyle changes that benefit their

 overall health. The GOLO Plan supports weight loss, reduces hunger and cravings, reduces

 stress and anxiety, increases immune function, and increases energy. Each part of the GOLO

 Plan, including its Release dietary supplement, has been clinically tested and proven to promote

 weight loss and provide improvements in health markers, such as lower levels of blood sugar,

 reduction in heart disease risk factors, and relief of everyday stress. First-time purchasers of

 GOLO’s Release supplement receive a free copy of GOLO’s Metabolic Plan. This is one way

 that the company emphasizes that GOLO offers a safe, healthy, comprehensive approach to

 weight loss and improved health that produces sustainable results.

        34.     GOLO first used the GOLO Mark at least as early as April 22, 2013, first used the

 GOLO Mark in commerce at least as early as May 2, 2013, and has made substantially exclusive

 and continuous use of the GOLO Mark in commerce since at least as early as April 22, 2013.

        35.     The GOLO Mark is inherently distinctive and therefore serves as an indicator of a

 single source behind GOLO-branded Goods and Services.

        36.     In addition, as a result of GOLO’s extensive and successful use and promotion of

 the GOLO Mark (including the facts set forth in ¶¶ 37–49, below), the GOLO Mark has acquired

 secondary meaning, which further strengthens its status as an indicator of a single source behind

 GOLO-branded Goods and Services.

        37.     GOLO has invested substantial time, money, and other resources promoting the

 GOLO Mark for GOLO’s Goods and Services to individuals in all 50 states, including Delaware.



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 GOLO prominently displays its GOLO Mark on all of GOLO’s Goods and Services, its website,

 and any advertisement promoting or marketing its GOLO Goods and Services.

       38.    GOLO owns and operates the domain www.golo.com, where GOLO markets,

 offers to sell, and sells the GOLO Goods and Services under the GOLO Mark. Examples of

 GOLO-branded products and material images from GOLO’s website, which also displays the

 GOLO Mark on nearly every page, are shown below:




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        39.     Consumers can purchase GOLO-branded Goods and Services directly from

 GOLO’s website and eBay. Until approximately December 2020, GOLO-branded Goods and

 Services could also be purchased from www.walmart.com.

        40.     GOLO has also advertised and promoted its Goods and Services under the GOLO

 Mark on television and other media campaigns, including digital, social (e.g., Facebook,

 Pinterest, and Instagram), print, and radio. GOLO’s Goods and Services have also received

 physicians’ endorsements and customer testimonials.

        41.     GOLO has enjoyed substantial sales of its Goods and Services that use the GOLO

 Mark, with customers located throughout the United States, including Delaware.

        42.     Because of the inherent distinctiveness of, and/or secondary meaning in,

 Plaintiff’s GOLO Mark, the GOLO Mark enjoys substantial goodwill and widespread consumer

 recognition as a mark.

        43.     In addition to its common law rights, GOLO owns U.S. Trademark Registration

 No. 4,436,947 for GOLO, granted by the U.S. Patent & Trademark Office (“USPTO”) on

 November 19, 2013, for use with:

        dietary and nutritional supplements (Class 005); and health care services for
        individuals, namely, weight loss program services, weight loss diet planning and
        supervision, weight management programs, and consulting services in the fields
        of diet, weight loss, diet planning, lifestyle wellness, health and nutrition (Class
        044).

 See Exhibit A.

        44.     The GOLO Registration issued from U.S. Application Serial No. 85/374,201 that

 was filed on July 18, 2011, on an “intent to use” basis.

        45.     The GOLO Registration is valid, subsisting, and currently in full force and effect.

 Moreover, under 15 U.S.C. § 1065, the GOLO Registration gives GOLO the incontestable right

 to use the GOLO Mark in commerce for GOLO’s Goods and Services.

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        46.     GOLO also owns several other U.S. trademark registrations and applications for

 marks that consist entirely or partially of GOLO. See Exhibit B.

        47.     GOLO also owns trademark applications and registrations for GOLO-formative

 marks in countries other than the United States. GOLO has filed oppositions to the registration

 of Goli’s marks in countries where GOLO’s marks are registered.

        48.     GOLO has invested hundreds of thousands of dollars on studies, trials, and

 research to develop and deliver safe and effective products that provide the marketed benefits,

 including promoting safe weight loss and improving overall health and wellness. GOLO’s

 investment in product research and development has paid off: GOLO has over 1 million

 customers, has shipped over 2 million packages of products, and its products are met with much

 satisfaction from its customers. Indeed, although GOLO provides a 100%, 60-day, money-back

 guarantee, GOLO’s return rate is very low: under 3% last year.

        49.     GOLO’s customers are individuals who are interested in improving their health

 through better nutrition, weight management, and lifestyle changes. To grow its business,

 GOLO competes for the attention of consumers interested in improving their health against not

 only traditional diet plan based weight loss companies (such as Weight Watchers, Jenny Craig

 and similar programs) but also against more tech-based weight management approaches (like

 Noom) and companies that offer nutritional supplements that promise weight loss, fuel burning,

 and energy benefits (like Goli’s products or the Lipozene Supplement). Where another company

 promises the same benefits or results as GOLO does through an easier or less comprehensive

 product or program (e.g., by merely taking a supplement) or makes false claims directly or

 indirectly about the results its products will deliver or attributes it has, GOLO is at a competitive

 disadvantage in the marketplace.



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 E.       DEFENDANTS LAUNCH GOLI’S PRODUCTS, WHICH COMPETE WITH GOLO’S
          PROPRIETARY WEIGHT LOSS AND WELLNESS PRODUCTS.

          50.     Goli was founded in 2019 by Bitensky, who remains the company’s President and

 Chief Executive Officer today. Goli’s website describes the company as an “inventive, people-

 focused nutrition company who believe that happiness and wellness go hand in hand”11 with the

 goal of “creat[ing] innovative products that make living a healthy lifestyle simple and accessible

 to everyone.”12

          51.     Prior to the launch of Goli’s first product, the ACV Gummies, in September 2019,

 Bitensky, among others, developed the formulation for the ACV gummies and applied for a

 patent for the ACV gummies. Patent Nos. 10,791,755, 10,980,265, and 10,980,266 were issued

 with Bitensky listed as an inventor, and with Goli as the applicant and assignee.13

          52.     Beginning in or around September 2019, Goli began marketing its ACV Gummies

 as the “World’s First Apple Cider Vinegar Gummy.”14 In a 2019 press release announcing the

 launch of the ACV Gummies, Bitensky claimed the tasty gummies were a “breakthrough”

 because they provide a “delicious way to mask the flavor of ACV while retaining its core

 benefits.”15 Likewise, in a live commercial sponsored by Goli during a 2019 episode of “The

 Ellen DeGeneres Show,” Ellen described the product as one that provides “all the benefits of




 11
      See https://goli.com/pages/about-us (last accessed Sept. 16, 2021).
 12
      See https://goli.com/pages/nutritional-advisory-board (last accessed Aug. 19, 2021).
 13
    See also U.S. Patent Nos. 10,980,265 (Apr. 20, 2021), 10,980,266 (Apr. 20, 2021),
 10,791,755 (Oct. 6, 2020).
 14
      See, e.g., https://goli.com/ (last accessed Aug. 23, 2021).
 15
    See https://www.prnewswire.com/news-releases/goli-nutrition-launches-worlds-first-apple-
 cider-vinegar-gummy-300922883.html (last accessed Aug. 19, 2021).

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 apple cider vinegar”—which “helps the body with so many things”—but “without the sour

 taste.”16

          53.     Goli’s website touts its products, including the ACV Gummies, as “easy-to-take,

 and easy-to-integrate products that don’t interrupt your busy lifestyle, but actually complement

 it.”17 The company likewise includes taglines in its marketing that promote its Gummies as a

 “simple” route to wellness. For instance, on the “About Us” page of its website, Goli includes

 the following:




          54.     Similarly, the following appears on each page of Goli’s website that promotes its

 ACV Gummies:




 16
    See https://www.ellentube.com/article/ellen-introduces-goli-gummies.html (last accessed
 Aug. 19, 2021). Goli also prominently features this live commercial on the home page of its
 website, and has clipped the video to edit out the portion where Ellen discloses that she’s doing a
 “paid commercial” for Goli. http://www.goli.com/ (last accessed Aug. 23, 2021). By doing so,
 Goli gives consumers the false impression that the video is an independent endorsement by a
 well-known celebrity, rather than a sponsored advertisement by a paid endorser.
 17
      See https://goli.com/pages/about-us (last accessed Aug. 18, 2021).

                                                  18
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        55.     Nearly the same text appears on the product label on each bottle of Goli ACV

 Gummies, as shown below:




        56.     Despite the ease and convenience of gummies, Goli promises consumers that its

 ACV Gummies deliver a host of benefits, including many of the very same benefits for which

 GOLO’s products are sold. For example, the following image from the box in which customers

 receive products ordered from Goli’s website shows a portion of Goli’s chart that identifies

 “Appetite Control and Weight Loss,” “Lowers Blood Sugar Levels,” and “Improves Immune

 System” as among the benefits of Goli’s ACV Gummies:




                                                19
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        57.     Similarly, the Goli website included the table below (until at least March 2021),

 which listed a host of benefits purportedly provided by the ACV Gummies:




        58.     Goli and Bitensky have masterminded a hybrid multi-level marketing scheme to

 create a paid influencer partner program that offers significant payouts to influencers to promote

 Goli’s products and disseminate false claims. On information and belief, Goli and Bitensky

 began by using so-called “micro-influencers” with significant followings on various social media

 platforms, but without the “macro” influence associated with traditional celebrities. Those




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 micro-influencers used their platforms (in exchange for payment from Goli) to spread Goli’s

 false claims to millions of consumers.

        59.     Riding on the success of Goli’s micro-influencers, Goli and Bitensky were then

 able to recruit more prominent influencers and traditional celebrities. Celebrities such as

 Jennifer Lopez and Alex Rodriguez now promote Goli’s products and their supposed benefits.18

 These celebrities and others have spread Goli’s false claims to an even wider audience of trusting

 consumers.

        60.     Sponsored ads posted by Goli’s affiliate marketers on social media platforms,

 including Facebook, YouTube, and Instagram, tout the product’s supposed benefits and promise

 big results, as shown in the images below:




 18
    See https://goli.com/pages/home-jlar (last accessed Aug. 22, 2021) (welcoming “global icons
 Jennifer Lopez and Alex Rodriguez” to the Goli team).

                                                 21
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                                      22
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        61.    Sometime in late 2020 or early 2021, many of Goli’s weight management claims

 were challenged by another competitor in a proceeding in front of the National Advertising

 Division (the “NAD”). See Exhibit C. Representative examples of the challenged claims

 related to weight management included:

       •   “Supports healthy weight management. Scientific studies have shown that those who
           consume Apple Cider Vinegar had better weight management compared to those who
           did not. Combining Apple Cider Vinegar with a well-balanced diet helps support
           healthy weight management”

       •   “Imagine all these benefits in one gummy: . . . weight control”

       •   “They have so many health benefits & the b12 in them contributes to reducing appetite
           and supporting healthy weight management”

       •   “It helps me with my weight loss and digestion. And when I get those 3 p.m. cravings,
           Goli suppresses my appetite”

       •   “The benefits: . . . Supports Weight Management . . . Helps Reduce Appetite” [with
           before/after pictures of a Goli user who has lost weight]

       •   “Goli supports weight management” [with a picture of a thin Goli user holding up very
           large shorts]


                                                23
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        •      “[J]ust look at this, always looking good but just a lot less of me. . . . Benefits of the
               delicious Goli Gummies? . . . Support Healthy Weight Management” [with
               before/after pictures of a Goli user who has lost weight]

        •      “I love seeing results without heavy exercise . . . The benefits: . . . Supports Weight
               Management . . . Helps Reduce Appetite” [with before/after pictures of a Goli user
               who has lost weight]

         •      “Battling the effects of menopause. Results ✓ . . The benefits . . . Supports Weight
                Management . . . Helps Reduce Appetite” [with before/after pictures of a Goli user
                who has lost weight]

        •      “Goli makes weight loss simple.”

 Id. at 1–2.

         62.        The challenger also asked the NAD to evaluate Goli’s implied weight loss claims

 that Goli’s ACV Gummies “would result in meaningful weight loss without the need for special

 diet or exercise” and “help women lose the weight that often is gained following menopause,” as

 well as a variety of Goli’s other claims related to the ACV Gummies’ supposed benefits. Id. at 2.

         63.        Goli did not submit any support to the NAD for its weight management claims,

 but instead “agreed to permanently discontinue all claims” about its ACV Gummies offering

 weight management benefits, among other claims, all of which (by that time) had already

 permeated the market and established Goli’s foothold in the health supplement industry. Id. at 9.

         64.        For other claims related to the ACV Gummies’ ability to increase energy and

 improve skin health, the NAD recommended that Goli discontinue the claims because they were

 unsubstantiated and/or misleading. Id. at 14. In response, Goli agreed to discontinue those

 claims. Id.

         65.        Nonetheless, to this day, Goli markets its ACV products as having appetite

 control, weight loss, and weight management benefits. Through Goli’s viral marketing

 campaign, Goli’s weight management and other false claims continue to proliferate on social

 media and elsewhere.

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        66.     Indeed, Goli’s listing for its ACV Gummies on Amazon to this day includes the

 following list of promised benefits:19




        67.     Goli’s storefront on Amazon likewise promotes the weight management benefits

 of its ACV Gummies:20



 19
   See https://www.amazon.com/Worlds-Vinegar-Vitamins-Goli-
 Nutrition/dp/B07R8GD47V?ref_= ast_sto_dp& th=1 (last accessed Sept. 16, 2021).
 20
    See https://www.amazon.com/stores/page/C30B8E02-8291-40AF-875F-5A7F44AFCA39?
 ingress=2&visitId= b0d0b378-62e8-4f3c-bb9e-47920a4b27f1&ref_=ast_bln (last accessed Aug.
 19, 2021).

                                               25
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        68.     And Goli’s paid affiliates continue to push the ACV Gummies’ weight-loss

 benefits on social media. Depicted below are a few illustrative examples recently posted on

 Instagram by Goli’s paid affiliates:




                                               26
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                                      29
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        69.     This consumer perception of Goli’s ACV Gummies having a multitude of benefits

 that they do not actually has increased Goli’s market share to the disadvantage of competitors

 who are truthful in their advertising, including GOLO.

        70.     Moreover, Goli now makes those same unsubstantiated and misleading claims in

 connection with one of its new products, as discussed below.

        71.     In January 2021, Goli announced the launch of its second dietary supplement, an

 ashwagandha gummy called Ashwa.

        72.     Ashwagandha is an ancient Indian herbal pharmaceutical and an adaptogen,

 which Goli defines as a plant that helps the body maintain balance and adjust to stress.

 Consistent with that definition, Goli touts Ashwa as a product that will help people “keep calm

 and de-stress” as shown in the below image from the Goli website:




                                                 31
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        73.    But Goli’s promises as to its Ashwa Gummies do not stop at its calming and

 stress-relieving benefits. As it did with its ACV Gummies, Goli markets the Ashwa Gummies as

 providing a host of other benefits, including weight management and other benefits that GOLO’s

 products provide, including reduced stress, and immune system support. Indeed, the Goli

 website conveys the following as purportedly “clinically proven” benefits consumers can expect

 from the Ashwa Gummies:




        74.    Consumers also receive paper materials with their Ashwa Gummies that identify

 the same purported benefits, as shown in the image below:




                                               32
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        75.    Goli also touts the same benefits through its affiliate network in sponsored ads on

 social media, as shown in the examples below:




                                                 33
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                                      34
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        76.    Expanding even further into the health supplement industry, in approximately

 May 2021, Goli added another supplement (again, in gummy candy form) to its line of products:

 the Superfruits Gummies. As with the ACV and Ashwa Gummies, Goli touts the Superfruits

 Gummies as offering sundry health and wellness benefits, underscoring its positioning in the

 health and wellness industry:




                                                35
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        77.    Notably, its Superfruits’ packaging follows Goli’s monochromatic scheme, but

 utilizes a bright orange bottle very similar to GOLO’s orange branding connected to its Release

 supplement (as shown below on both GOLO’s current and historic packaging designs):




                                                36
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        78.     When marketing its Superfruits supplement, Goli (and its influencers and

 celebrity partners) utilizes marketing similar to GOLO, including the use of “super” in the

 product name and claiming that it includes “Superfoods,” which overlaps with GOLO’s

 “Superfoods” marketing and “GOLO SuperFuel” trademark:




        79.     All of Goli’s products are sold in interstate commerce on Goli’s website

 (www.goli.com), other online retailers, including Amazon, and in brick-and-mortar stores

 throughout the United States.




                                                37
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        80.     Through their development, marketing, and packaging of the Goli-branded

 products, Defendants have positioned Goli’s products as delivering many of the same benefits or

 results that GOLO’s products provide. By doing so, Goli is competing with GOLO for

 consumers who are looking for products that will help them achieve those results, i.e., weight

 loss and improved wellness.

        81.     Consumers recognize that GOLO and Goli both offer supplements to assist in

 weight management, viewing the two companies’ products as competitive, as reflected by

 surveys that GOLO conducted in 2020. GOLO polled visitors to its website to determine

 whether they were considering options other than GOLO, including Jenny Craig, Lipozene,

 Noom, Goli, Nutrisystem, and Weight Watchers. The results reflected that in just a six-day

 period, over 900 consumers who considered a product other than GOLO considered Goli as their

 alternative. Indeed, more people indicated they considered Goli’s Apple Cider Vinegar product

 than Nutrisystem, Jenny Craig, or Lipozene.

        82.     GOLO also polled customers who made a purchase from its website to determine

 who those consumers viewed as GOLO’s competitors. If customers who opted into the poll

 indicated that they were considering another weight loss product, they were asked to specify the

 competitor in a blank box. In the first seven months of 2020, 515 customers indicated that they

 were considering purchasing Goli instead.

        83.     Recent social media comments also reflect that interested consumers also consider

 Goli when they are looking for a way to lose weight (and that Goli’s paid ambassadors readily

 claim Goli’s products are just that):




                                                38
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 F.     GOLI AND ITS JUNIOR USE OF THE GOLI MARKS

        84.     Goli owns the domain www.goli.com, which describes Goli as “an inventive,

 people-focused nutrition company who believe that happiness and wellness go hand in hand. It’s

 our goal to help you reach your nutrition goals while enjoying your daily supplements. . . . We

 are driven by the belief that everyone has the power to make their own happiness. And that

                                                39
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 power begins with being healthy. Easier said than done, right? We totally agree. You don’t

 always have time. The world revolves quickly and your whole day can change in a heartbeat.

 Not to worry, we’re one step ahead of you. Because we work hard to invent smart new

 supplements and provide customized advice to help keep your nutrition goals right on track. . . .

 Goli. It’s the simple way to wellness.”21 Consumers can purchase Goli-branded dietary

 supplements directly from Goli’s website, which has an image of, or reference to, Goli on nearly

 every page.

          85.     Goli uses the Goli Marks as a trade name – meaning, in the name of their

 companies – and as a trademark on dietary supplements. Goli labels each of their dietary

 supplements, including new supplements that they introduce into the marketplace, with the Goli

 mark.

          86.     Goli uses the Goli Marks in television advertisements, social media marketing,

 (including Facebook, Instagram, YouTube, and Pinterest) to direct consumers to Goli’s website

 to make purchases. Goli also distributes its Goli-branded products to retailers such as Target,

 Walmart, Bed Bath & Beyond, The Vitamin Shoppe, and GNC that offer to sell and sell Goli-

 branded products throughout the United States, including Delaware.

          87.     For example, the following screenshot shows the Goli ACV Gummies for sale on

 Walmart’s website22:




 21
      See https://goli.com/pages/about-us (last accessed Aug. 18, 2021).
 22
    See https://www.walmart.com/ip/Goli-Nutrition-Apple-Cider-Vinegar-Gummies-60-
 ct/178552185 (last accessed Aug. 18, 2021).

                                                  40
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        88.    On information and belief, Goli purchased GOLO as a keyword to ensure that

 Internet users who search for GOLO on Google or other search engines would be redirected to

 Goli’s website, despite their intention to find GOLO products. On information and belief, Goli

 paid Google to show Goli Gummies each time someone searches “GOLO” on Google, even

 though the person is looking for information on GOLO Goods and Services. For example, the

 image below is a screenshot of the results page after searching Google for GOLO on a

 smartphone:




                                               41
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        89.    Goli’s purchase and use of GOLO as a search engine keyword further

 demonstrates its intention to trade off of GOLO’s goodwill and market and sell Goli-branded

 products to the same consumers as GOLO.

        90.    Similarly, a visitor to Amazon’s site who searches for “GOLO” receives multiple

 sponsored product suggestions for Goli’s Gummies:




                                               42
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        91.     Goli exploited its use of the confusingly similar Goli Marks and the fact that

 GOLO does not offer GOLO’s Goods and Services on Amazon by sponsoring its products on

 search result pages for shoppers who search for “GOLO.”

        92.     At the time Goli first used any of the Goli Marks, Goli was aware of GOLO’s use

 of the GOLO Mark and U.S. Trademark Reg. No. 4,436,947. At the time Goli first used any of

 the Goli Marks, Goli had constructive notice of GOLO’s claim of ownership in the GOLO

 Mark, under 15 U.S.C. § 1072.

 G.     DEFENDANTS’ APPLICATIONS TO REGISTER, AND REGISTRATION OF, GOLI

        93.     On May 5, 2020, the USPTO granted to Goli Canada Trademark Registration No.

 6,047,784 for GOLI (the “Infringing Registration”) for: healthcare products, namely, dietary

 supplements, nutritional supplements, vitamins, and gummy vitamins (Class 005); and online

 retail store services and wholesale distributorship services featuring dietary and nutritional

                                                  43
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 supplements, food products, and beauty products, namely, shampoo, conditioner, beauty mask,

 skin cleanser, toner, and non-medicated exfoliating preparations for skin and hair (Class 035).

 Goli Canada represented to the USPTO that Goli Canada first used GOLI on the goods and

 services listed in the Infringing Registration in April 2019. A true and correct copy of the

 Infringing Registration is attached hereto as Exhibit D. Goli Canada filed the application that

 led to issuance of the Infringing Registration on January 14, 2019, alleging a priority date of

 November 6, 2018.

        94.     Goli Canada has also filed applications to register the following trademarks with

 the USPTO (the “Infringing Applications”):

         a) GOLI, filed January 14, 2019, alleging a priority date of November 6, 2018, Serial
            No. 88260529, for: beauty products, namely, shampoo, conditioner, beauty mask,
            skin cleanser, toner, non-medicated exfoliating preparations for skin and hair; beauty
            creams and beauty serums (Class 003); and food products, namely, apple cider
            vinegar, gummy candies, and beverages based on apple cider vinegar (Class 030);


         b)                , filed March 12, 2019, alleging a priority date of February 15, 2019,
              Serial No. 88976981, for: Healthcare products, namely, dietary supplements,
              nutritional supplements, vitamins, and gummy vitamins (Class 005); and


         c)                , filed January 14, 2019, alleging a priority date of December 11, 2018,
              Serial No. 88261174, for: beauty products, namely, shampoo, conditioner, beauty
              mask, skin cleanser, toner, non-medicated exfoliating preparations for skin and hair;
              beauty creams and beauty serums (Class 003); healthcare products, namely, dietary
              supplements, nutritional supplements, vitamins, and gummy vitamins (Class 005);
              and online retail store services and wholesale distributorship services featuring
              dietary and nutritional supplements, food products, and beauty products, namely,
              shampoo, conditioner, beauty mask, skin cleanser, toner, non-medicated exfoliating
              preparations for skin and hair (Class 035).

        95.     When Goli filed the first of its Infringing Applications on January 14, 2019, Goli

 was aware of GOLO’s use of the GOLO Mark, U.S. Trademark Reg. No. 4,436,947, and had

 constructive notice of GOLO’s claim of ownership in the GOLO Mark, under 15 U.S.C. § 1072.



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        96.     Goli did not use any of the Goli Marks or file any trademark application anywhere

 in the world before July 18, 2011 (or, necessarily before May 2, 2013 and April 22, 2013).

 GOLO is thus the senior user of GOLO with rights superior to any rights Goli may have in any

 of the Goli Marks.

        97.     Goli adopted the Goli Marks, filed the Infringing Applications, and filed the

 application that resulted in the issuance of the Infringing Registration in bad faith, with

 knowledge of GOLO’s use of GOLO and with knowledge of GOLO’s Trademark Registration

 for GOLO, with the intent to profit from the distinctiveness of, and goodwill in, the nearly

 identical GOLO Mark for use with identical or at least closely related goods.

        98.     Goli’s co-founder and President, Bitensky, was directly involved in the selection

 and creation of the GOLI trademark and also directs, authorizes and approves Goli’s marketing

 strategy and use of the Goli Mark.

        99.     At the time that Goli (and Bitensky) chose the “Goli” name, Goli employees were

 aware that GOLO existed and that it was a company that offered weight loss products, but Goli

 proceeded anyway.

 H.     DEFENDANTS’ FALSE AND MISLEADING STATEMENTS

        100.    Defendants have leveraged consumers’ desire for weight loss, immune system

 support, and overall improved health by making false statements about the nature,

 characteristics, and/or qualities of Goli’s products, and thereby have deceived, or at least have a

 tendency to deceive, a substantial portion of the intended audience (namely, consumers

 interested in products that support weight management, immunity, and overall health and

 wellness).

        101.    Defendants have made false and/or misleading statements regarding the nature,

 characteristics, and/or properties of Goli’s products through Goli’s website, in social media and

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 other media outlets, and on product packaging and other promotional materials as described

 herein, and have done so knowing that the statements were false and/or misleading and that they

 would be disseminated to consumers.

        102.    Goli and Bitensky have alternatively made false and/or misleading statements

 regarding the nature, characteristics, and/or properties of Goli’s products through brand

 partnerships with media outlets, referral sources, direct advertisers and advertisements, and/or

 social media influencers who have repeated the false and/or misleading statements made by Goli

 and Bitensky, which they knew would be disseminated to consumers and actively and materially

 furthered the unlawful conduct by inducing it, causing it, and bringing it about.

        103.    Bitensky is personally liable for Goli’s infringing use of the GOLI trademark and

 for all false and/or misleading statements regarding the nature, characteristics, and/or properties

 of Goli’s products because, as Goli’s President and Chief Executive Officer, he was involved in

 the selection and creation of the GOLI trademark, authorizes and directs the company’s use of

 the GOLI trademark, and has authorized and directed the false and/or misleading statements

 described herein, and in many instances directly made the false statements himself. And upon

 information and belief, he has done so all the while knowing them to be false and/or misleading.

        104.    Defendants are working in concert with each other to convey the false and/or

 misleading statements described herein to consumers in order to persuade them to buy Goli’s

 products.

                    Two ACV Gummies Are Not Equal to a “Shot” of ACV

        105.    Defendants represent that the ACV Gummies are equivalent to, have the same

 characteristics as, and provide the same benefits as liquid apple cider vinegar. Defendants’

 advertising states that ACV Gummies provide “ALL OF THE AGE OLD BENEFITS OF



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 TRADITIONAL ACV.” Traditional apple cider vinegar is intended to mean liquid apple cider

 vinegar.

        106.    Goli’s ACV Gummies do not contain any real liquid ACV, but rather, a starchy

 form of powder ACV that does not contain the amount of acetic acid (the active ingredient in

 real liquid ACV) that liquid ACV contains. The ACV Gummies bear so little resemblance to

 liquid ACV, in both their composition and associated benefits, they should not even be called

 “ACV” Gummies.

        107.    More specifically, each of the Defendants represents and/or has represented

 directly and/or indirectly that two ACV Gummies equal one shot of liquid ACV.

        108.    For example, the banner at the top of the home page of Goli’s website

 (www.goli.com) displayed a banner (like that shown below) stating “2 Gummies = 1 ACV Shot”

 until at least as recently as September 1, 2021.




        109.    Since at least as early as August 2019, the label on Goli’s ACV Gummies bottle

 (shown at the right of the screenshot above) likewise included the claim that “2 gummies is equal

 to 1 shot of Apple Cider Vinegar” (the “2=1 Claim”):




                                                    47
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        110.   The label on the ACV Gummies bottle shown for sale on Amazon as of March 12,

 2021 likewise included the claim that that “2 gummies is equal to 1 shot of Apple Cider

 Vinegar”:




        111.   On information and belief, as of May 18, 2020, all bottles of Goli’s ACV

 Gummies distributed by Goli included the 2=1 Claim. At some point after May 18, 2020, Goli

 began selling its ACV Gummies in bottles that do not include the 2=1 Claim.

        112.   Goli also updated its website to remove some references to the 2=1 Claim, and

 updated its “Frequently Asked Questions” page to state (at least as of August 25, 2021) “[t]wo

 Goli ACV Gummies provides slightly more than one recommended tablespoon of apple cider


                                                48
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 vinegar,”23 before deleting this question and answer entirely from its site sometime prior to

 September 17, 2021.

          113.    Goli’s false 2=1 Claim has been included prominently in other Goli-sponsored

 advertising material as well, including a 2019 spot in which a member of Goli’s Nutritional

 Advisory Board (Heidi Regenass) promoted Goli’s ACV Gummies as offering “the benefits of

 apple cider vinegar” on the show “Modern Living with Kathy Ireland,” as shown in the

 screenshots below:24




 23
      See https://goli.com/pages/faq (last accessed Aug. 25, 2021).
 24
      See https://www.youtube.com/watch?v=viJeXcfxSMY (last accessed Aug. 19, 2021).

                                                  49
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        114.    While the banner reading “2 GOLI GUMMIES = 1 APPLE CIDER VINEGAR

 SHOT” appeared across the screen, Regenass stated that, as a holistic medicine doctor, she

 recommended taking 2 tablespoons of apple cider vinegar a day, which is the equivalent of two

 to four ACV Gummies a day.

        115.    Defendants’ 2=1 Claim is false, misleading, and likely to confuse consumers.

        116.    And, on information and belief, Defendants know that the 2=1 Claim is false,

 misleading, and likely to confuse consumers or, at least, have made the statement knowing that

 they have no basis to make it. On information and belief, Defendants do not have a study that

 supports its claim that two ACV Gummies are equivalent to one “shot” of apple cider vinegar or

 any similar claim. The 2=1 Claim, and any similar claims equating Goli’s ACV Gummies with

 apple cider vinegar, are not supported by competent and reliable scientific evidence.

        117.    Goli’s website represented (at least as late as August 18, 2021), in response to the

 question “What are the Supplement Facts?” (www.goli.com/pages/faq), that each Goli gummy

 has 500 mg of apple cider vinegar, and that 5% of the apple cider vinegar in each ACV Gummy

 is acetic acid, as shown below:




                                                 50
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          118.    The label on bottles of Goli’s ACV Gummies also claims that there is 500 mg of

 apple cider vinegar in each ACV Gummy and 5% of the 500 mg is acetic acid:




          119.    5% of 500 mg is 25 mg.

          120.    Defendants thus represent that there are 25 mg of acetic acid in each ACV

 Gummy and 50 mg of acetic acid in two ACV Gummies.

          121.    On information and belief, consumers reasonably understand one “shot” of liquid

 apple cider vinegar to be equal to at least two tablespoons, or 30 mL.

          122.    Goli, however, has contended that one “shot” of liquid apple cider vinegar is

 equal to only one tablespoon, or 15 mL, as shown in the below excerpts from the “FAQs” on

 Goli’s website which appeared on Goli’s website at least as recently as August 25, 202125:




 25
      See https://goli.com/pages/faq (last accessed Aug. 25, 2021).

                                                  51
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        123.   Regardless, whether a “shot” is 30 mL (as GOLO alleges) or 15 mL (as Goli

 represents), Goli’s ACV Gummies contain far less than the claimed amount of apple cider

 vinegar.

        124.   Even using Goli’s incorrect definition of a “shot,” for the Defendants’ 2=1 Claim

 to be accurate, two ACV Gummies must contain 750 mg of acetic acid.26

        125.   But according to Goli’s nutrition information, two ACV Gummies have only 1000

 mg of apple cider vinegar (5% acetic acid). This equates to 50 mg acetic acid in two ACV

 Gummies.27




 26
    15 mL of liquid apple cider vinegar is equal to 15000 mg of apple cider vinegar. Apple cider
 vinegar is considered to contain approximately 5% acetic acid. 5% of 15000 mg is 750 mg.
 27
    The ACV Gummy nutrition information states that each gummy contains 500 mg of ACV
 with 5% acetic acid. 5% of 500mg is 25mg. Thus, two ACV Gummies would contain 50mg of
 acetic acid.

                                               52
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          126.   Accordingly, an individual who wants to ingest 750 mg of acetic acid would have

 to ingest thirty ACV Gummies (each having 25 mg of acetic acid), not two ACV Gummies, to

 do so.

          127.   If, as GOLO alleges, reasonable consumers would interpret a “shot” of liquid

 apple cider vinegar to be 30 mL, then an individual who wants to ingest the equivalent amount of

 apple cider vinegar would have to eat sixty ACV Gummies (which would have 900 calories), not

 two ACV Gummies.

          128.   An analysis of the actual chemical composition of Goli’s ACV Gummies

 performed by the Eurofins Microbiology Laboratories (“Eurofins”) in August 2020 confirmed

 that two ACV Gummies do not include the 750 mg of acetic acid that would be contained in one

 liquid apple cider vinegar tablespoon (or “shot” as misleadingly defined by Goli). In fact, that

 analysis showed that one ACV Gummy contains only 15.23 mg of acetic acid. Thus, two ACV

 Gummies do not even contain the amount of acetic acid (50 mg) that would be expected based

 on the ingredients disclosed on the product’s label and Goli’s website, much less the amount in

 one liquid shot of apple cider vinegar.

          129.   Defendants, and each of them, knew, or should have known, that the 2=1 Claim

 (and any similar claim that the ACV Gummies provide the same benefits as apple cider vinegar)

 is false and/or misleading and that they did not have any basis to make the 2=1 Claim. And there

 is no basis for the claim, which is demonstrably false, as discussed above. Indeed, none of the

 “studies” cited previously on the Goli website as the supposed “studies and science” behind

 Goli’s ACV Gummies involves apple cider vinegar in a powder form or gummies, much less

 Goli’s ACV Gummies. And currently on Goli’s website, the page dedicated to Goli’s supposed




                                                 53
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 scientific support for its Gummies merely states “[c]urrently being updated with the most

 current 2021 scientific data. Coming soon”28:




            130.   Defendants simply made up the claim to confuse and deceive the public and

 leverage consumers’ desire to find easier ways to lose weight and be healthier, so that

 Defendants could be more profitable, attract a network of affiliates to promulgate Goli’s viral

 marketing campaign, and capture market share from competitors.

                       Goli’s ACV Gummies Do Not Contain 500 mg of ACV

            131.   Defendants’ representation that an ACV Gummy contains 500 mg of apple cider

 vinegar that is 5% acetic acid (the “500 mg Claim”) is likewise false, as confirmed by the testing

 done by the Eurofins lab. If one ACV Gummy contained 500 mg of apple cider vinegar with 5%

 acetic acid, an ACV Gummy would contain 25 mg of acetic acid, not 15.23 mg as confirmed by

 testing.

            132.   Defendants knew, or should have known, that Goli’s claim that its ACV Gummies

 contained 500 mg of apple cider vinegar with 5% acetic acid is false and/or misleading and that

 they did not have any basis to make the 500 mg Claim. They have made up claims, like the 500


 28
      See https://goli.com/pages/science-and-studies-behind-goli (last accessed Sept. 16, 2021).

                                                  54
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 mg Claim, to deceive the public and leverage consumers’ desire to find easier ways to lose

 weight and be healthier, so that Defendants could be more profitable, attract a network of

 affiliates to promulgate Goli’s viral marketing campaign, and capture market share from

 competitors.

                      Goli’s ACV Gummies Do Not Contain “The Mother”

          133.   Defendants’ false advertising is not limited to their 2=1 and 500mg Claims. Since

 at least as early as September 2019, Defendants have falsely stated that Goli’s ACV Gummies

 provide all the health benefits of liquid apple cider vinegar, such as weight loss, and include “the

 mother” found in unfiltered liquid apple cider vinegar (the “Mother Claim”). Goli defines “the

 mother” as “a combination of beneficial yeast, enzymes and healthy bacteria.”29 But just as

 Goli’s ACV Gummies do not contain the amount of acetic acid that traditional ACV contains (or

 even the amount or acetic acid claimed on the ACV Gummy product packaging), Goli’s ACV

 Gummies do not contain the coveted “mother.”

          134.   Defendants’ false statement that the ACV Gummies contain “the mother”

 appeared on the product label, Goli’s website, and in other advertising, including sponsored ads

 posted by Goli affiliates on social media and other types of media. Examples of the claim are

 below:




 29
      See https://goli.com/pages/inside-the-gummy (last accessed March 14, 2021).

                                                  55
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  https://goli.com/pages/faq (last accessed March
  12, 2021).
                                                     www.goli.com (last accessed March 14, 2021).




  Front panel of product label for Goli ACV
  Gummies as of October 2020.
                                                     Sponsored Advertisement appearing on Facebook,
                                                     September 2020.

          135.    Between March and August 2021, Goli updated its “Frequently Asked Questions”

 page to state that the “Apple Cider Vinegar ingredient” that they use “contains the mother at the

 time of manufacturing,” in an attempt to continue tying its product to the health benefits of the

 “mother” even though it knows that the mother does not survive the manufacturing process.30




 30
      See https://goli.com/pages/faq (last accessed Aug. 25, 2021).

                                                    56
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        136.    Goli, through Regenass, also falsely touted that the ACV Gummies contain “the

 mother” on the November 2019 episode of “Modern Living with Kathy Ireland” discussed in ¶

 113, supra. During that appearance, during a discussion about the ACV Gummies, Regenass

 described what the “mother” is. During her explanation, displayed across the screen appeared

 bottles of apple cider vinegar with the “mother” in them and on the bottom of the screen, the

 ACV Gummies were overlaid, suggesting that the ACV Gummies contain the “mother”:




        137.    Like Defendants’ 2=1 Claim, their representation that Goli’s ACV Gummies

 contain “the mother” is literally and demonstrably false because the “mother” is not contained in

 the ACV Gummies.

        138.    An analysis performed by the Eurofins lab in July 2020 confirmed that

 Defendants’ Mother Claim is false. The lab’s analysis of the ACV Gummies found no live

 bacteria (which could be the only kind of “healthy” bacteria) in the ACV Gummies. Thus, ACV

 Gummies do not contain “the mother” as claimed by Defendants. This is not surprising since the

 bacteria contained in “the mother” would not be expected to survive the manufacturing process

 through which a product becomes a “gummy.” Indeed, Goli’s change to its website to obfuscate



                                                57
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 whether the final gummy contains the “mother” reflects Goli’s knowledge that the “mother” does

 not survive the manufacturing process. See ¶¶ 134–35, supra.

        139.     Defendants, and each of them, knew, or should have known, that Goli’s claim that

 its ACV Gummies contain “the mother” is false and/or misleading and that they did not have any

 basis to make the Mother Claim. Defendants simply made up the claim to confuse and deceive

 the public and leverage consumers’ desire to find easier ways to lose weight and be healthier, so

 that Defendants could be more profitable, attract a network of affiliates to promulgate Goli’s

 viral marketing campaign, and capture market share from its competitors.

               Defendants Misrepresent the Ingredients in Goli’s Ashwa Gummies

        140.     Defendants also misrepresent the strength and/or potency of Goli’s Ashwa

 Gummies.

        141.     On Goli’s website, Defendants touted the Ashwa Gummies as the “World’s Most

 Powerful Ashwagandha Gummies,” which contain KSM-66 Ashwagandha, the “highest

 concentration” ashwagandha extract available “on the market today,” as shown in the images

 below (the “Ashwa Concentration Claim”):31




 31
    See https://goli.com/pages/home-ashwagandha (last accessed March 14, 2021);
 https://goli.com/pages/faq-ashwagandha (last accessed September 17, 2021).

                                                 58
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       142.   Similar statements appear on the label of the Ashwa Gummies, as shown below:




                                            59
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        143.   Likewise, Goli’s affiliates parrot the same claims in sponsored ads on social

 media, like the one below, which appeared on Facebook in March 2021 and claims that the

 Ashwa Gummies contain “the highest concentrated ashwagandha extract on the market”:




        144.   Defendants also claim that Goli’s Ashwa Gummies are vegan (see, e.g., the image

 in ¶ 141 and on the Ashwa Gummies label below):

                                               60
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          145.   According to the manufacturer of KSM-66 Ashwagandha, a company named

 Ixoreal Biomed, its “extraction process entails pre-treating the ashwagandha roots with milk”

 and thus, its most highly concentrated ashwagandha “contains milk constituents.” Ixoreal also

 offers a version of its KSM-66 Ashwagandha that skips the milk pre-treatment (for those wanting

 a vegan or dairy-free product). Ixoreal notes that the milk pre-treatment “is important in [the

 KSM-66] extraction process because this is in fact what leads to retention of both hydrophilic

 components and lipophilic components of the raw root, which in turn leads to a full-spectrum

 extract of such high-potency.”32

          146.   If Goli’s Ashwa Gummies contain KSM-66 Ashwagandha that was pre-treated in

 milk, then Defendants’ claim that the product is vegan is false (and the Ashwa Gummies label


 32
      See https://ksm66ashwagandhaa.com/ksm-66/what-is-ksm-66/ (last accessed Aug. 11, 2021).

                                                 61
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 should include a warning about the potential dairy allergen, which it does not). And if Goli’s

 Ashwa Gummies instead contain Ixoreal’s alternative vegan, dairy-free version of its KSM-66

 Ashwagandha, which skips the milk pre-treatment—which is what leads to an ashwagandha

 extract of such high potency—then Goli’s Ashwa Gummies do not contain the highest

 concentration ashwagandha extract on the market. Thus, the Ashwa Concentration Claim that

 Goli’s Ashwa Gummies are both vegan and contain the highest concentration of ashwagandha

 extract on the market is false and misleading.

        147.    Defendants knew, or should have known of the falsity of their claim that Goli’s

 Ashwa Gummies are both vegan and contain the highest concentration of ashwagandha extract

 on the market because both cannot be true. Defendants knew they did not have any basis to

 make the Ashwa Concentration Claim. Defendants simply made up the claim to confuse and

 deceive the public and leverage consumers’ desire to find easier ways to lose weight and be

 healthier, so that Defendants could be more profitable, attract a network of affiliates to

 promulgate Goli’s viral marketing campaign, and capture market share from competitors.

                     Ashwa Gummies Contain More Calories than Claimed

        148.    As noted in Section E, supra, Goli touts the weight management benefits of its

 Ashwa Gummies. At the same time, however, Defendants claim that the Ashwa Gummies

 contain fewer calories than they actually do. As shown below, through at least March 2021, both

 Goli’s website and the Ashwa Gummies label represented that each Ashwa Gummy contained

 only ten calories (the “Calorie Claim”):




                                                  62
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        149.    Goli’s claim that one serving of its Ashwa Gummies (or one gummy) contains

 just ten calories is false. As confirmed by laboratory testing by Eurofins in February 2021, each

 Ashwa Gummy actually contains 15 calories, 50% more than disclosed by Defendants. Thus,

 the Calorie Claim is false, misleading, and likely to confuse consumers.

        150.    The calorie count is a material one to consumers generally, but particularly to

 consumers looking for a product to help them lose weight.

        151.    Defendants knew, or should have known, that Goli’s claim that one Ashwa

 Gummy contains just 10 calories is false. Defendants misrepresent the product’s caloric content

 to confuse and deceive the public and leverage consumers’ desire to find easier ways to lose

                                                 63
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 weight and be healthier, so that Goli could be more profitable, attract a network of affiliates to

 promulgate Goli’s viral marketing campaign, and capture market share from competitors.

        152.    Evidencing Defendants’ knowledge that the Calorie Claim is false, the packaging

 of the Ashwa Gummies was updated between March 2021 (when GOLO filed a false advertising

 claim against Goli in California regarding its Calorie Claim) and today to reflect an increase in

 the calorie content of the Ashwa Gummies, but still underrepresents the calorie content by 5

 calories per serving:




   Defendants’ False and Misleading Claims That the Benefits of its Ashwa Gummies Are
                                   “Clinically Proven”

        153.    As discussed in Section E, supra, Defendants promise Goli’s Ashwa Gummies

 deliver a swath of health benefits, far beyond the stress relieving and calming benefits

 traditionally associated with ashwagandha. And they do so alongside representations that these

 benefits are “clinically proven” (the “Clinically-Proven Claim”). However, Goli relies only on




                                                  64
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 studies supporting the benefits of the raw ingredient that has not gone through a destructive

 gummy manufacturing process.

          154.   Exemplary images from the Goli website and the Ashwa Gummies’ packaging

 reflect the false and misleading suggestion that Goli’s Ashwa Gummies are clinically proven to

 provide such benefits:33




 33
      See https://goli.com/pages/home-ashwagandha (last accessed Aug. 19, 2021).

                                                 65
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        155.   The Clinically-Proven Claim and similar claims suggesting that Goli’s Ashwa

 Gummies have been shown to provide some or all of these benefits are also made in Goli-

 sponsored advertisements and Goli partner posts on social media, like those below:




                                               66
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                                      67
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                                      68
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       156.   Goli makes the Clinically-Proven Claim and a similar claim that its Ashwa

 Gummies are “science-backed” on its Amazon page:




                                             69
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        157.    On information and belief, Defendants do not have any study that supports the

 claim that the Ashwa Gummies provide the laundry list of benefits for which they are promoted

 and thus that claim is false and misleading. While the Goli website purported to share “THE

 STUDIES AND SCIENCE BEHIND GOLI ASHWAGANDHA GUMMIES,”34 Goli does not

 cite a single study that involves an Ashwa Gummy (or any other gummy product for that matter).

 Instead, Goli misleadingly provides links to studies that relate to different product formulations

 ingested via different delivery mechanisms. As such, Defendants Goli and Bitensky’s




 34
    See https://goli.com/pages/science-and-studies-behind-ashwagandha (last accessed March 14,
 2021) (emphasis in original); see also https://goli.com/pages/faq-ashwagandha (last accessed
 March 14, 2021) (FAQ: “Do you have evidence for the benefits claims?” Answer: “Please see
 our page dedicated to the scientific studies behind the benefits here.”).

                                                 70
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 Clinically-Proven Claim and any similar claims are not supported by competent and reliable

 scientific evidence.

         158.    Even assuming, arguendo, that there is support for the claim that Ixoreal

 Biomed’s KSM-66 Ashwagandha by itself provides the above-listed benefits, there is no

 competent and reliable scientific evidence from which to conclude that Goli’s Ashwa Gummies,

 or any ashwagandha gummy, provide the same benefits, and certainly not a clinical study

 sufficient to support the Clinically-Proven Claim. It is well known that dietary supplements in

 gummy form are the hardest to manufacture while ensuring the amount of ingredients in each

 gummy is consistently as intended. For these reasons, gummies are the dietary supplement most

 likely to fail quality testing.

         159.    In short, despite representing that Goli’s Ashwa Gummies are “Clinically Proven”

 to provide a myriad of benefits, Goli does not have any support for its Gummies, rendering its

 “clinically proven” claims false.

         160.    The Clinically-Proven Claim deceives or has a tendency to deceive a substantial

 portion of consumers into believing Goli’s Ashwa Gummies have been clinically tested in

 studies that confirmed those benefits were true for that product formulation. Indeed, Defendants

 intentionally make the Clinically-Proven Claim (and similar claims) alongside claims that

 convey that Goli’s studies and claims have scientific support and credibility, e.g., that Goli’s

 Ashwa Gummies are “backed by modern science” and under the heading “THE STUDIES AND

 SCIENCE BEHIND GOLI ASHWAGANDHA GUMMIES,” to mislead customers into

 believing that the Ashwa Gummies product itself is clinically proven to provide all the benefits

 that Goli promises, which is false.




                                                  71
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        161.    Defendants knew, or should have known, that Goli’s claim that the Clinically-

 Proven Claim and similar claims are false and/or misleading and that they did not have any basis

 to make such claims. Defendants simply made up the claim to confuse and deceive the public

 and leverage consumers’ desire to find easier ways to lose weight and be healthier, so that

 Defendants could be more profitable, attract a network of affiliates to promulgate Goli’s viral

 marketing campaign, and capture market share from competitors.

                     Defendants’ False and Misleading “Organic” Claims

        162.    Defendants have also falsely claimed that the ACV Gummies are organic when in

 fact they only contain “select” organic ingredients (the “Organic Claim”).

        163.    On information and belief, Defendants do not have any basis to claim that Goli’s

 ACV Gummies are organic or 100% organic. Defendants’ Organic Claim is not supported.

        164.    The press release announcing Goli’s and Bitensky’s launch of the ACV Gummies

 represented that the product is organic, as shown below35:




 35
    See https://www.prnewswire.com/news-releases/goli-nutrition-launches-worlds-first-apple-
 cider-vinegar-gummy-
 300922883.html#:~:text=23%2C%202019%20%2FPRNewswire%2F%20%2D%2D,makes%20t
 aking%20daily%20supplements%20enjoyable (last accessed Aug. 19, 2021).

                                                 72
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        165.    Likewise, beginning at least as early as September 2019, the Goli website and the

 bottle label for the ACV Gummies indicated the product was organic. For instance, the website

 included the organic logo prominently on the banner of the first page as shown below36:




        166.    And the following language appeared on every page of Goli’s website, indicating

 that Goli’s ACV Gummies were “100% organic, vegan-friendly, gluten-free, [and] contain[ed]

 no preservatives, chemicals, or artificial ingredients”:




        167.    The label on a bottle of the ACV Gummies also indicated that the product was

 organic, and that it was “certified organic by Oregon Tilth,” as shown in the images below from

 the side panel and supplemental facts panel:


 36
     See http://web.archive.org/web/20191001090457/https://www.goli.com/ (reflecting website as
 it appeared on Oct. 1, 2019).

                                                  73
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        168.   Goli also represented, through their spokesperson, Regenass, that the ACV

 Gummies are organic during 2019 spot on the show “Modern Living with Kathy Ireland”

 discussed above, as shown below:




        169.   As of May 14, 2020, Goli’s webpage continued to claim that its products were

 “Organic,” but no longer claimed that they were “100% organic.”37




 37
   See http://web.archive.org/web/20200514020643/https://goli.com/ (reflecting the website as it
 appeared on May 14, 2020).

                                               74
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        170.    At some point between May and June 2020, references to Goli’s ACV Gummies

 being “Organic” and/or “100% Organic” were removed from Goli’s website. The “100%

 Organic” claim at the bottom of each web page was also changed to indicate that the ACV

 Gummies are instead made with “select organic ingredients.”




        171.    References to the ACV Gummies being “organic” were also removed from the

 product label at some point prior to February 2021, including the representation that the product

 is “certified organic by Oregon Tilth,” as shown below. But none of the listed ingredients

 changed, as can be seen by comparing the ingredient list below to that included in paragraph

 167, supra.




                                                75
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        172.   Despite the changes to the website and product label, however, at least as recently

 as February 2021, the product inserts and outer carton with which Goli’s ACV Gummies are

 shipped to consumers, still included the Organic Claim, as shown below:




        173.   And even within the last few weeks, Goli’s paid affiliate marketers were still

 claiming the ACV Gummies are certified “organic, ” as shown in the posts below:



                                               76
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                                      77
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        174.   And in retail channels, Goli’s Gummies continue to be marketed as organic38:




        175.   The ACV Gummies are not certified organic by Oregon Tilth or by any other

 certifier, as confirmed by searches on both Oregon Tilth’s website and the USDA’s registry.


 38
    See https://www.gnc.com/apple-cider-vinegar/187900.html (last accessed Aug. 22, 2021);
 https://www.walmart.com/ip/Goli-Nutrition-Apple-Cider-Vinegar-Gummy-with-The-Mother-60-
 Count/464219312 (last accessed Aug. 22, 2021).

                                               78
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        176.    Defendants, and each of them, knew, or should have known, that Goli’s claim that

 its ACV Gummies are organic is false and misleading and that they did not have any basis to

 make the Organic Claim. Defendants made the Organic Claim to confuse and deceive the public

 and leverage consumers’ desire to find easier ways to lose weight and be healthier, so that

 Defendants could be more profitable, attract a network of affiliates to promulgate Goli’s viral

 marketing campaign, and capture market share from competitors.

        177.    Hereinafter, the false and misleading statements set forth above, including (i) the

 2=1 Claim, (ii) the 500 mg Claim, (iii) the Mother Claim, (iv) the Ashwa Concentration Claim,

 (v) the Calorie Claim, (vi) the Clinically-Proven Claim, and (vii) the Organic Claim may be

 collectively referred to as “Defendants’ False and Misleading Claims.”

 I.     DEFENDANTS’ FALSE AND MISLEADING CLAIMS AND GOLI’S USE OF THE GOLI MARKS
        HAVE INJURED CONSUMERS AND GOLO.

        178.    Defendants’ unlawful use of the GOLO Marks as described herein has resulted in

 actual consumer confusion in the marketplace. GOLO continues to be contacted by many

 consumers who have expressed their actual confusion caused by Goli’s unauthorized use of the

 Goli Marks. For example:

        a)      On January 24, 2020, an individual sent an email to GOLO advising that she

                purchased only one bottle of Goli Gummies for $19.99 and questioning why she

                was sent another package for $49.95.

        b)      On March 23, 2020, an individual sent an email to GOLO saying that she ordered

                gummies as seen in the TV ad and questioning why she received capsules instead.

        c)      On April 1, 2020, an individual sent an email to GOLO asking why she received

                capsules instead of gummies.




                                                 79
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       d)    On April 10, 2020, an individual sent an email to GOLO explaining that “I

             thought I was ordering Goli Gummies when I ordered GOLO.”

       e)    On April 18, 2020, an individual sent an email to GOLO, complaining:

             “I did not order golo. I ordered Goli.com, a red bottle. What is golo? What are

             you doing switching items?”

       f)    On April 29, 2020, an individual sent an email to GOLO asking why she had not

             received her order yet. The subject line of the email was “My Goli order.”

       g)    On May 9, 2020, an individual sent an email to GOLO complaining: “I thought I

             had ordered the gummy’s [sic] that you advertised, not some pills. Probably

             won’t buy from you again.”

       h)    On July 27, 2020, an individual called GOLO about his purchase from GOLO,

             confused why he did not receive the ACV Gummies that were advertised to him

             on Facebook.

       i)    On August 10, 2020, an individual reported trying to order GOLO’s product, but

             was directed to Goli’s website and was misled to believe that GOLO had changed

             its name to Goli.

       j)    On February 1, 2021, an individual called GOLO inquiring about charges on her

             bank statement from Goli.

       k)    On February 2, 2021, an individual e-mailed GOLO asking where their shipment

             of gummies was.

       l)    On March 10, 2021, an individual called GOLO explaining that she mistakenly

             ordered Goli when she wanted GOLO, but could not reach Goli’s customer

             service for a refund or cancellation of her subscription.



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        m)      On March 30, 2021, an individual e-mailed GOLO complaining that he was

                taking gummies three times a day but had gained weight. After clarification that

                GOLO did not sell gummies, the individual requested the link for GOLO’s

                supplement.

        n)      On May 16, 2021, an individual sent an e-mail with the subject “Gummies”

                asking how much apple cider vinegar was in each gummy and how many

                gummies to take for “the desired effect.”

        o)      On June 6, 2021, an individual commented on GOLO’s Facebook page asking

                when to take “the blue bottle” supplements (presumably referring to Goli’s

                Ashwa product). The same day, another individual e-mailed:

                “would like to order gummies.”

        179.    On information and belief, Defendants also received evidence of actual confusion

 caused by their use of the Goli Marks. For example, on April 18, 2020, an individual who had

 placed an order with GOLO wanted to cancel her order. She wrote: “Please cancel this order,

 DO NOT Ship or charge. Thank you!” She sent her cancellation request not to GOLO, but to

 Goli. Goli’s customer service representative responded:

        Upon careful review, I can see that you are emailing in regards to your order with
        Golo. Please note that you have contacted the customer support team for Goli
        Nutrition.

 Goli’s customer service representative copied GOLO on the email. This exchange not only

 constitutes another instance of actual confusion, but also establishes that Defendants have

 known, at least since April 18, 2020, that their use of Goli creates actual confusion.

        180.    In addition, GOLO’s customer service department has received numerous phone

 calls – including within the last 30 days – from individuals expressing confusion from

 Defendants’ use of the Goli Marks. GOLO has had to spend time, money, and effort correcting

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 their confusion and ensuring that GOLO’s separate identity and superior reputation remain

 intact.

           181.   Defendants’ continued use of the Goli Marks is likely to cause additional

 confusion as to the source and origin of the Defendants’ goods and services and is likely to

 cause, and has caused, confusion, mistake, or deception as to the source or sponsorship of

 Defendants’ goods and services. Further, Defendants’ use of the Goli Marks falsely suggests a

 connection with GOLO, and misleads the public into believing that Defendants’ goods and

 services emanate from, are approved or sponsored by, or are in some way connected with

 GOLO.

           182.   Defendants’ use of the Goli Marks on packaging and other advertising in

 connection with the same goods falsely conveys that GOLO is affiliated with Defendants or

 otherwise misrepresents the nature, characteristics, and qualities of Defendants’ goods and

 services. Defendants’ use of the Goli Marks has actually deceived a substantial segment of the

 audience.

           183.   Current and prospective customers looking for GOLO’s Goods and Services and

 encountering the Goli Marks are likely to be, and have already been, confused or deceived as to

 the source of the goods.

           184.   Defendants have undertaken the acts alleged herein without GOLO’s permission

 or authorization and have caused, and if not stopped will continue to cause, consumer confusion,

 mistake, and/or deception.

           185.   On information and belief, Defendants’ adopted and use the infringing Goli

 Marks in a deliberate, willful, and intentional attempt to trade unlawfully on the goodwill

 associated with the GOLO Mark.



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        186.    Defendants’ activities as described herein have caused, and if not stopped will

 continue to cause, irreparable harm, and significant injury to GOLO. The irreparable harm to

 GOLO is aggravated because consumers are likely to attribute to Plaintiff the literally false

 and/or misleading advertising claims Defendants make about the ACV and Ashwa Gummies

 (discussed below), further damaging GOLO’s reputation and goodwill in its GOLO Mark.

        187.    Defendants use the Goli Marks to prominently advertise the alleged health

 benefits and attributes of Goli’s products to deceive consumers into buying them, and

 Defendants’ False and Misleading Claims about those health benefits and attributes have at least

 the tendency to deceive a substantial portion of the intended audience. Defendants’ false

 advertising about the health benefits and attributes of Goli ACV and Ashwa Gummies goes to

 the efficacy and inherent qualities and characteristics of the ACV and Ashwa Gummies; namely,

 their supposed ability to deliver a swath of health benefits by doing nothing more than enjoying

 tasty gummies.

        188.    Defendants’ False and Misleading Claims involve health issues that would

 concern reasonable consumers, and are thus presumptively material. Indeed, Defendants’ False

 and Misleading Claims relate to the very health benefits for which Goli’s ACV and Ashwa

 Gummies are marketed and sold, and thus were (and are) material to consumers’ purchasing

 decisions.

        189.    Consumers who are actual and potential consumers of dietary supplements that

 provide weight management and related health benefits are and have been misled by Defendants’

 False and Misleading Claims. Given the importance of Defendants’ False and Misleading

 Claims, consumers likely would not have chosen Goli’s ACV and Ashwa Gummies had they




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 known the truth of Defendants’ claims and would have opted for another weight management

 alternative, such as GOLO’s Goods and Services.

        190.    Additionally, if the true facts were known, Goli would not have been able to

 achieve the media attention and significant advertising that it did. Goli would not then have been

 able to obtain the market share it holds in the weight management supplement market absent its

 widespread false and misleading advertising.

        191.    The injuries to consumers discussed above are the types of injury that consumers

 could not have reasonably avoided since they were unaware that the statements Defendants made

 about the Goli ACV and Ashwa Gummies were false and misleading. Defendants overpromised

 and under delivered, giving consumers less than what was promised and potentially putting

 consumers (who understandably thought they were ingesting something that would provide

 particular health benefits) in danger as a result.

        192.    Without injunctive relief from this Court, consumers will continue to suffer

 injuries, including a threat to their health and safety. When a company says that its products

 provide health benefits and reduce risk factors for serious health conditions, consumers need to

 be able to rely on those promises.

        193.    Through Defendants’ False and Misleading Claims, Defendants have also

 diverted consumers (and sales) away from competitors (including GOLO) to Goli. Because Goli

 and GOLO compete for the same customers looking for the same weight management, appetite

 control, and other health benefits (see ¶¶ 50–83, supra), Defendants’ False and Misleading

 Claims promising those benefits by merely popping a couple of gummies or chocolate bites each

 day have diverted consumers away from competitors like GOLO to Goli. Everyone is looking

 for easier routes to weight management and better health, and Goli seizes on that desire by



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 offering an inexpensive bottle of tasty gummies or chocolates falsely promising those benefits.

 GOLO’s alternative is at an immediate disadvantage (even though it is a proven plan that offers

 long-term benefits). GOLO has lost sales and is likely to continue to lose sales to Goli because

 of Defendants’ False and Misleading Claims. Indeed, GOLO regularly hears from consumers

 who have purchased Goli’s products intending to purchase GOLO’s Release supplement:

        a)      On August 28, 2020, an individual called GOLO to cancel an order of

                “gummies,” indicating that she meant to order the Release supplement instead.

        b)      On September 14, 2020, an individual called to report that she had accidentally

                ordered from Goli when she meant to order from GOLO.

        c)      On October 1, 2020, an individual called to report that she meant to order GOLO,

                but that she ordered Goli’s ACV Gummies by mistake because her search results

                for “GOLO” returned results for Goli’s products.

        d)      On January 14, 2021, an individual called indicating that she received ACV

                Gummies when she believed she had ordered GOLO’s Release supplement.

        e)      On March 30, 2021, an individual e-mailed GOLO complaining about weight

                gain from eating “gummies.” On clarification that GOLO does not sell gummies,

                the individual requested the link for GOLO’s product.

        f)      On April 13, 2021, an individual called indicating that she accidentally ordered

                Goli thinking that it was GOLO.

        g)      On June 8, 2021, an individual contacted GOLO concerned that she had

                purchased the wrong product because she had purchased Goli at Walmart and she

                wanted the “real thing” and indicated that she planned to order GOLO and stop

                taking Goli.



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        194.    While the above examples are instances where consumers have contacted GOLO

 and GOLO has been able to dispel the confusion, there is no doubt that many, many more are

 confused by Goli’s use of a name so similar to GOLO and do not get the benefit of realizing their

 mistake.

        195.    Defendants’ False and Misleading Claims also taint the reputation and

 marketability of its competitors’ products, including GOLO’s, because consumers are led to

 believe that Goli’s Gummies provide the same benefits in a different (and easier) form and thus

 implying to consumers that other weight management supplements are either overpricing or

 overcomplicating their products. Indeed, just this month GOLO received a call from a customer

 indicating that he wanted to return the product he had purchased from GOLO because he had

 heard that Goli’s ACV Gummies offer the same benefits, so he wanted to try those instead.

 Thus, Defendants’ False and Misleading Claims are causing immediate and irreparable injury to

 GOLO, including injury to GOLO’s business, reputation, and goodwill.

        196.    GOLO has lost revenue, and will continue to lose revenue, as consumers purchase

 Goli’s products instead of GOLO’s products due to Defendants’ False and Misleading Claims

 and the financial, media, and reputational benefits derived from such claims.

        197.    Had Defendants not made the False and Misleading Claims and consumers had

 instead known the truth about the qualities of the Goli ACV and Ashwa Gummies, Defendants

 would not have been as successful. As such, Defendants have been unjustly enriched.

        198.    Without injunctive relief from this Court, GOLO will continue to suffer injury in

 the form of lost sales, loss of market share, loss of goodwill, and harm to its reputation all

 because of Defendants’ False and Misleading Claims.




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                COUNT I – INFRINGEMENT OF REGISTERED TRADEMARK

                                       (Against All Defendants)

         199.    GOLO repeats and realleges each of the numerical paragraphs both above and

 below as if fully set forth herein.

         200.    The foregoing acts of Defendants, undertaken without authorization from GOLO

 and with knowledge that GOLO and Goli are likely to be confused, are intended to cause and are

 likely to cause confusion, mistake, and deception among consumers, the public, and the trade as

 to whether the Defendants’ current and future Goli-branded supplements originate from, or are

 affiliated with, sponsored by, or endorsed by GOLO.

         201.    Defendants have acted with knowledge of GOLO’s superior trademark rights in

 GOLO and to unfairly benefit from the goodwill symbolized thereby.

         202.    Defendants’ activities as described above constitute infringement of the GOLO

 Mark in violation of Section 32(1) of the Lanham Act of 1946, as amended (15 U.S.C.

 § 1114(1)).

         203.    On information and belief, Defendants’ unlawful activities have enabled them to

 make, and to continue to make, substantial profits and gains to which they are not entitled.

         204.    On information and belief, Defendants will continue their willful infringing acts,

 unless restrained by this Court.

         205.    Defendants’ acts have damaged, and will continue to damage, GOLO, and GOLO

 has no adequate remedy at law.

                       COUNT II – FALSE DESIGNATION OF ORIGIN

                                       (Against All Defendants)

         206.    GOLO repeats and realleges each of the numerical paragraphs both above and

 below as if fully set forth herein.

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         207.    Defendants’ promotion, advertising, distribution, sale, and/or offering for sale of

 current and future dietary supplements using the Goli Marks is likely to confuse, mislead, or

 deceive consumers, the public, and the trade as to the origin, source, sponsorship, or affiliation of

 the Defendants’ supplements, and is intended, and is likely to cause, such third parties to believe

 in error that GOLO has authorized, sponsored, approved, endorsed, or licensed Defendants or

 that Defendants are in some way affiliated with GOLO.

         208.    Defendants’ activities as described above constitute the use of false designations of

 origin in commerce, and false and misleading descriptions and representations of fact, all in

 violation of Section 43(a) of the Lanham Act of 1946, as amended (15 U.S.C. § 1125(a)).

         209.    On information and belief, Defendants have made and will continue to make

 substantial profits and gains to which they are not in law or equity entitled.

         210.    On information and belief, Defendants intend to continue their infringing acts,

 unless restrained by this Court.

         211.    Defendants’ acts have damaged and will continue to damage GOLO, and GOLO

 has no adequate remedy at law.

  COUNT III – CANCELLATION OF DEFENDANTS’ INFRINGING REGISTRATION

                                            (Against Goli)

         212.    GOLO repeats and realleges each of the numerical paragraphs both above and

 below as if fully set forth herein.

         213.    The continued existence of Defendants’ U.S. Registration No. 6,047,784 for Goli

 is contrary to 15 U.S.C. § 1052(d) and will violate and diminish the prior and superior rights of

 GOLO in the GOLO Mark.




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         214.    GOLO is and will continue to be damaged by the continued existence of the

 Infringing Registration in view of Plaintiff’s prior and superior rights in the GOLO Mark and

 under common law, in violation of 15 U.S.C. § 1052(d).

         215.    The existence of the Infringing Registration has caused irreparable harm to

 GOLO, and, absent cancellation of the Infringing Registration, is likely to continue to cause

 irreparable harm to GOLO.

                COUNT IV – FALSE ADVERTISING UNDER FEDERAL LAW

                                       (Against All Defendants)

         216.    GOLO repeats and realleges each of the numerical paragraphs both above and

 below as if fully set forth herein.

         217.    The acts of Defendants as set forth above and below, including the advertising

 and dissemination of Defendants’ False and Misleading Claims, constitute false advertising in

 violation of 15 U.S.C. § 1125(a)(1)(B). As a result of Defendants’ actions, GOLO has suffered,

 and will continue to suffer, damages in an amount to be determined at trial. Further, Defendants

 have caused, and will continue to cause, immediate and irreparable injury to GOLO, including

 injury to GOLO’s business, reputation and goodwill, for which there is no adequate remedy at

 law. GOLO is therefore entitled to an injunction under 15 U.S.C. §1116 restraining Defendants

 from engaging in future acts of false advertising and ordering removal of all of Defendants’ false

 advertisements.

         218.    The acts of Defendants as set forth above and below constitute false and

 misleading representations of fact in commercial advertising or promotion, in interstate

 commerce in connection with goods or services, where Defendants’ representations misrepresent

 the nature and/or qualities and/or benefits of Goli’s ACV and Ashwa Gummies, and GOLO has

 been damaged and is likely to be damaged in the future by Defendants’ acts.

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         219.    The acts of Defendants as set forth above and below, particularly Defendants’

 False and Misleading Claims, caused commercial injury to GOLO, with such injury harming

 GOLO’s ability to compete with Defendant Goli.

         220.    The acts of Defendants as set forth above and below, particularly Defendants’

 False and Misleading Claims in the commercial advertising and promotion of Goli’s ACV and

 Ashwa Gummies, are the proximate cause of GOLO’s injury. Defendants’ False and Misleading

 Claims are material and likely to influence the purchasing decisions of actual and prospective

 purchasers of Goli and GOLO products. Defendants’ False and Misleading Claims actually

 confuse and deceive, or have the tendency to, and are likely to confuse and deceive an

 appreciable number of relevant consumers. Defendants’ False and Misleading Claims deceived

 consumers, which caused those consumers to withhold trade from GOLO.

         221.    Pursuant to 15 U.S.C. § 1117, GOLO is further entitled to recover from

 Defendants the damages sustained by GOLO because of Defendants’ acts in violation of 15

 U.S.C. 1125(a). As a result of the acts complained herein, GOLO has suffered damages in

 excess of this Court’s minimum jurisdiction, the precise amount of which will be proven at trial.

         222.    Pursuant to 15 U.S.C. § 1117, GOLO is further entitled to recover from

 Defendants the gains, profits, market value, and advantages that Defendants have obtained

 because of Defendants’ acts in violation of 15 U.S.C. § 1125(a), the precise amount of which

 will be proven at trial.

         223.    Pursuant to 15 U.S.C. § 1117, GOLO is further entitled to recover the costs of this

 action. Moreover, Defendants’ conduct was undertaken willfully and with the intent to causes

 confusion, mistake, or deception, making this an exceptional case entitling GOLO to recover




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 additional damages, up to three times the amount of actual damages, and reasonable attorneys’

 fees.

         224.     Defendants’ False and Misleading Claims will continue to divert sales to Goli at

 the expense of GOLO, and have lessened, are lessening, and will continue to lessen the goodwill

 enjoyed by GOLO products if not enjoined. The legal remedies available to GOLO are alone

 inadequate to remedy and compensate GOLO for the injuries it has sustained, and if not enjoined

 will continue to sustain, due to Defendants’ unlawful conduct.

             COUNT V – UNFAIR COMPETITION UNDER DELAWARE LAW

                                       (Against All Defendants)

         225.     GOLO repeats and realleges each of the numerical paragraphs both above and

 below as if fully set forth herein.

         226.     Defendants’ activities as described above constitute unfair competition and

 deceptive trade practices under the Delaware Uniform Deceptive Trade Practices Act, 6 Del. C.

 § 2531 et seq.

         227.     On information and belief, Defendants have made and will continue to make

 substantial profits and gains to which they are not, in law or equity, entitled.

         228.     On information and belief, Defendants intend to continue their infringing acts

 unless restrained by this Court.

         229.     Defendants’ acts have damaged and will continue to damage GOLO, and GOLO

 has no adequate remedy at law.




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       COUNT VI – UNFAIR COMPETITION UNDER DELAWARE LAW (FALSE
                             ADVERTISING)

                                       (Against All Defendants)

         230.    GOLO repeats and realleges each of the numerical paragraphs both above and

 below as if fully set forth herein.

         231.    Defendants’ false advertising activities as described above constitute unfair

 competition and deceptive trade practices under the Delaware Uniform Deceptive Trade

 Practices Act, 6 Del. C. §§ 2532(a)(8) and (12).

         232.    On information and belief, Defendants have made and will continue to make

 substantial profits and gains to which they are not in law or equity entitled.

         233.    On information and belief, Defendants intend to continue their infringing acts,

 unless restrained by this Court.

         234.    Defendants’ acts have damaged and will continue to damage GOLO, and GOLO

 has no adequate remedy at law.

                                       PRAYER FOR RELIEF

         WHEREFORE, GOLO prays for the following relief:

         235.    That Defendants, their agents, servants, affiliates, representatives, successors, and

 assigns, and all those persons or entities in active concert or participation with any of them who

 receive actual notice of the injunctive order, be enjoined preliminarily and permanently, pursuant

 to, without limitation, 15 U.S.C. 1116(a) and 6 Del. C. § 2533(a), from:

                 (a)     Using Goli in commerce to sell, offer to sell, distribute, promote,

         advertise, market, or export from the United States dietary or nutritional supplements,

         including on (for example) websites, packages, wrappers, products, displays, labels,

         signs, circulars, kits, packaging, letterheads, business cards, literature, materials, and


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        receptacles. Any prohibited use of Goli includes use of Goli in any form or presentation,

        meaning, without limitation, orally, in upper case and/or lower case, in any particular font

        or stylized treatment (e.g., italics), with or without a logo, and in any particular color or

        combination of colors;

                (b)    Using Goli as part of a trade or commercial name; meaning any name used

        to identify its business (15 U.S.C. § 1127);

                (c)    Using Goli as part of a website domain name, including (for example)

        www.goli.com, where Defendant sells, offers to sell, distributes, promotes, advertises, or

        markets dietary or nutritional supplements;

                (d)    Using Goli as a handle, username, or name on social media accounts,

        including (for example) Facebook, Twitter, Pinterest, LinkedIn, and Instagram;

                (e)    Using the GOLO Mark or any other mark, symbol, or device that is

        similar to the GOLO Mark, including the Goli Marks;

                (f)    Making (i) the 2=1 Claim, (ii) the 500 mg Claim, (iii) the Mother Claim,

        (iv) the Ashwa Concentration Claim, (v) the Calorie Claim, (vi) the Clinically-Proven

        Claim, and (vii) the Organic Claim in any medium, to promote or advertise Goli ACV

        and Ashwa Gummies; and

                (g)    Committing any other act calculated or likely to cause the public to believe

        that Defendants are in any manner connected, affiliated, or associated with GOLO or

        from otherwise competing unfairly with GOLO.

        236.    Pursuant to 15 U.S.C. § 1118, that Defendants deliver to GOLO for destruction all

 material (including, without limitation, all advertisements, promotional materials, and brochures)




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 within its possession, custody, or control, either directly or indirectly, that bears the Goli Marks

 or any other designation, symbol, or device that is confusingly similar to the GOLO Mark.

           237.   Pursuant to 15 U.S.C. § 1116(a), that Defendants be directed to file with the Court

 and serve upon GOLO, within thirty (30) days after entry of the injunctive order, a report in writing

 and under oath setting forth in detail the manner and form by which they have complied with the

 provisions set forth in paragraphs 235 and 236 above.

           238.   Pursuant to 15 U.S.C. § 1117(a), that the Court issue an award of: (i) Defendants’

 profits, increased by an amount the Court finds just under the circumstances proven at trial; (ii)

 GOLO’s damages, increased up to three times the amount thereof; and (iii) the costs of the

 action.

           239.   Pursuant to 15 U.S.C. § 1117(a) and 6 Del. C. § 2533(b), that the Court determine

 that the case is exceptional and that GOLO recovers from Defendants its attorneys’ fees and

 costs.

           240.   For an award of pre- and post-judgment interest on any and all monetary awards.

           241.   Pursuant to 15 U.S.C. § 1119, an Order that the United States Patent and

 Trademark Office cancel the Infringing Registration, Defendant’s Registration No. 6,047,784.

           242.   That GOLO be awarded such other and further relief as the Court deems equitable,

 just, and proper.

                                   DEMAND FOR JURY TRIAL

           243.   Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure and Local Rule

 38.1, GOLO hereby demands a trial by jury of all issues so triable.




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  Dated: December 20, 2021            BARNES & THORNBURG LLP

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